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                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION
                                                                     2 ~ 3 bJ,:! 19 a rr: 2s
UNITED STATES OF AMERICA

v.                                                       Case No. 3 :05-cr33-J-20MCR

WESLEY LEWIS


                                        ORDER

      The United States' Motion for Reduction of Sentence for Timely Notification of Intent to

Plead Guilty (Doc. No. 384, filed January 18, 2006) is GRANTED.

      DONE AND ORDERED at Jacksonville, Florida, this / 9 c d a y of January, 2006.




                                       P ( e d States District Judge

Copies to:
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William M. Kent, Esq.
U S . Probation
